    Case 1:22-cv-03419-JPB   Document 115-1   Filed 12/08/23   Page 1 of 15




LOCAL

Maid finds body in motel room
By Carl WillisJanuary 08, 2012 at 4:23 pm EST




TUCKER, Ga.,None — A maid who was trying to clean a DeKalb County
motel room discovered a man's body on the floor.

DeKalb County police were called to the Super 8 Motel on Crescent Centre
Boulevard and Lawrenceville Highway on Sunday afternoon. Motel employee
Ritesh Gandhi said he was one of the first to take a look at the murder scene
after the maid's discovery.

"She opened the door, and she saw the blood and the dead body near the
sink," Gandhi said.




                                                                              Plaintiff D.H. 02698
    Case 1:22-cv-03419-JPB    Document 115-1     Filed 12/08/23   Page 2 of 15




He found broken furniture along with clothing, sheets and other items
scattered throughout the room.

http://bcove.me/jwquegph

"It looked like there was a fight inside the room," he said.

Crime scene investigators spent the afternoon scouring the scene for clues.
They said it wasn't clear how the victim ended up there.

"We're waiting for the medical examiner to come up with a cause of death,
but it's an obvious homicide," said DeKalb police Lt. D.A. Steward.

Steward said the victim had clear signs of trauma to the head. He wouldn't
say what was used but said investigators were able to recover what they
believed to be the murder weapon in the room.

On Sunday night, the victim was still unidentified and there were no
suspects.

"We're still canvassing, getting some information on who was in the adjacent
rooms to see if anyone heard anything," Steward said.




Date Accessed: 2022-12-27

Link: https://www.wsbtv.com/news/local/maid-finds-body-motel-
room/242641150/




                                                                                 Plaintiff D.H. 02699
     Case 1:22-cv-03419-JPB            Document 115-1             Filed 12/08/23     Page 3 of 15




                           Man Killed at Tucker Hotel
      A man was found dead in his room this afternoon, a probable homicide, police said.
                                     Kevin Madigan, Patch Staff

             Posted Mon, Jan 9, 2012 at 12:50 am ET | Updated Mon, Jan 9, 2012 at 12:03 pm ET


An unidentified adult male was found deceased in a Tucker hotel room, according to a statement
from the DeKalb County Police Department, which has classified the incident as a homicide.

Lt. D. A. Steward of the Criminal Investigation Division said that the body was found by a maid
when she arrived to clean the room at the , located at 1600 Crescent Centre Boulevard in Tucker.

Police have no leads or suspects at this time. Patch will have more information on the case as it
becomes available.



Date Accessed: 2022-12-1

Date Posted: 2012-01-09

Link: https://patch.com/georgia/tucker/man-killed-in-tucker-hotel




                                                                                                    Plaintiff D.H. 02700
    Case 1:22-cv-03419-JPB       Document 115-1      Filed 12/08/23   Page 4 of 15




  'Serial rapist' tried to film murder of DeKalb
               woman, official says




                                         Caption
DEKALB COUNTY
By Joshua Sharpe, The Atlanta Journal-Constitution
Dec 14, 2016


With every allegation from the prosecutor's lips came a response from the courtroom
gallery.

A grunt, a sign, a moan — utter disgust at tales of the zip ties carried by the "serial
rapist and murderer," the black bandannas stuffed in victims' mouths, the pictures taken
of dark moments in DeKalb and Fulton counties.

One woman got up and fled the courtroom.

DeKalb prosecutor Dalia Racine revealed the details Wednesday during a hearing for
suspect Terique Hall, 24, of Atlanta.

Racine repeatedly called Hall a "serial rapist." The deputy chief assistant district
attorney detailed a nine-day spree in early November in which Hall allegedly committed
three rapes, one attempted rape and the chilling murder of a 20-year-old pregnant
woman.




                                                                                     Plaintiff D.H.01894
     Case 1:22-cv-03419-JPB        Document 115-1       Filed 12/08/23    Page 5 of 15




Hall tried to video tape himself suffocating the hog-tied woman, Ashley Mays, in her
room at Quality Inn and Suites outside Lithonia, the prosecutor said.
Hall — who worked driving seniors and the disabled for MV Transportation, a contract
firm whose customers include MARTA — asked for Wednesday's hearing. He wanted a
judge to let him bond out of the DeKalb County jail.

Judge Winston Bethel took only seconds to deny the request, citing the gravity of the
allegations.

Racine said the victims had all advertised escort services on backpage.com. The string
of assaults got concerning enough that, while police were searching for the suspect,
they cold-called escorts from the site just to warn them.

Michael Mays told The Atlanta Journal-Constitution his late daughter was a promising
young woman but adrift. He tried to talk to her, but Ashley Mays believed past
blemishes on her record made prospects of legitimate work few.

A long-haul trucker, the father, 44, had to work Wednesday and couldn't attend the
hearing.

"For the first few weeks it was bad," he said from the cab of his truck in Louisiana. "The
only reason I'm handling it now is I'm back driving the truck. Every once in a while I drift
and cry."

But he wants to hear the details of what happened to his daughter and her unborn child,
who didn’t survive. He's hoping the case might help spread the word to young women
about the dangers of backpage.com and sites like it.

As Racine told it, the dangers played out grimly for the four women Hall met last month.

The first victim said she was assaulted on Nov. 9 at an East Point hotel.

On Nov. 11, at a townhome near Lithonia, Hall allegedly poured bleach on a woman
after raping her and told her she was "lucky" he didn't also have rubbing alcohol. The
combination would've made chloroform.

Three days later, a pimp overheard a prostitute scream during an attempted rape at
America's Best hotel in the Northlake area. The pimp shot the attacker's car as he fled,
Racine said.




                                                                                         Plaintiff D.H.01895
    Case 1:22-cv-03419-JPB       Document 115-1       Filed 12/08/23   Page 6 of 15




Ashley Mays, who was 4-months pregnant and leaves behind a 3-year-old, died Nov.
18. The prosecutor said Hall's cell phone contained a picture of Mays bound and
gagged.

Authorities are waiting for a report from a doctor to decide whether to charge him with
the death of the fetus.

Racine said Hall was connected to the crime spree through surveillance video, witness
accounts and the cell phone used to contact the women.

It was a Wi-Fi phone, which had been reloaded with anonymously registered prepaid
debit cards. There were attempts to conceal whose phone it was, Racine said.

But the number was connected to an email address, which began with: "teriquehall."




Date Assessed: 2022-12-07
Date of Article: 2016-12-14
Link: https://www.ajc.com/news/local/serial-rapist-tried-film-murder-dekalb-woman-
official-says/T5dXGOMOk2AbJ3ZE7eo5JJ/




                                                                                      Plaintiff D.H.01896
Case 1:22-cv-03419-JPB   Document 115-1   Filed 12/08/23   Page 7 of 15




                                                                          Plaintiff D.H. 01412
     Case 1:22-cv-03419-JPB            Document 115-1             Filed 12/08/23     Page 8 of 15




                           Man Killed at Tucker Hotel
      A man was found dead in his room this afternoon, a probable homicide, police said.
                                     Kevin Madigan, Patch Staff

             Posted Mon, Jan 9, 2012 at 12:50 am ET | Updated Mon, Jan 9, 2012 at 12:03 pm ET


An unidentified adult male was found deceased in a Tucker hotel room, according to a statement
from the DeKalb County Police Department, which has classified the incident as a homicide.

Lt. D. A. Steward of the Criminal Investigation Division said that the body was found by a maid
when she arrived to clean the room at the , located at 1600 Crescent Centre Boulevard in Tucker.

Police have no leads or suspects at this time. Patch will have more information on the case as it
becomes available.



Date Accessed: 2022-12-1

Date Posted: 2012-01-09

Link: https://patch.com/georgia/tucker/man-killed-in-tucker-hotel




                                                                                                    Plaintiff D.H. 00436
     Case 1:22-cv-03419-JPB         Document 115-1        Filed 12/08/23     Page 9 of 15




             2 men shot at Tucker hotel; one critical
Police believe that an argument between two men at the America’s Best Value Inn could have
escalated to shooting each other




Police believe that an argument between two men at the America’s Best Value Inn may
have escalated to shooting each other.
Author: Jessica Noll
Published: 10/27/2016 9:38:27 AM
Updated: 12:14 PM EDT October 27, 2016

TUCKER, Ga. -- Police believe that an argument between two men at the America's Best Value
Inn parking lot may have escalated to shooting each other.
The shooting happened around 2:30 a.m. at 1600 Crescent Center Blvd on Thursday.
DeKalb Police found a 45-year-old man shot in the chest and a 39-year-old male shot in the leg.
The man shot in the chest is in critical condition at Grady Hospital. The man shot in the leg
showed up at DeKalb Medical Center shortly after the shooting. He is being interviewed by
police along with other witnesses.




                                                                                            Plaintiff D.H. 00443
    Case 1:22-cv-03419-JPB         Document 115-1        Filed 12/08/23     Page 10 of 15




Detectives are working to identify one additional person who may be involved in the shooting.
So far, no charges have been filed.


Date Accessed: 2022-12-1

Date Posted: 2016-10-27

Link: https://www.11alive.com/article/news/local/2-men-shot-at-tucker-hotel-one-critical/85-
342937728




                                                                                          Plaintiff D.H. 00444
12/6/22, 4:46 PM   Case 1:22-cv-03419-JPBDeKalb
                                             Document
                                                rapist admits 115-1         Filed woman
                                                              suffocating pregnant 12/08/23      Page 11 of 15
                                                                                        from backpage.com




  DeKalb rapist admits suffocating pregnant woman, 20, from
  backpage.com

                                                                                                                              Caption




  DEKALB COUNTY

  By Joshua Sharpe, The Atlanta Journal-Constitution
  Oct 5, 2017




            While this article is provided as part of our public service mission, we offer much more. Stay informed with today's
            special offer: just 99¢ for 3 months of unlimited access! Subscribe now.



  For over a week last year, Terique Hall unleashed cruelty on women in DeKalb County.




https://www.ajc.com/news/local/dekalb-rapist-admits-suffocating-pregnant-woman-from-backpage-com/UccHUtjV6XJUZGeHk2u9ZM/                    1/5
                                                                                                                             Plaintiff D.H. 00534
12/6/22, 4:46 PM   Case 1:22-cv-03419-JPBDeKalb
                                             Document
                                                rapist admits 115-1         Filed woman
                                                              suffocating pregnant 12/08/23      Page 12 of 15
                                                                                        from backpage.com




  He liked to bind their limbs with zip ties, silence them with a black bandanna and take pictures as he raped
  them, authorities have said. One woman, 20-year-old Ashley Mays, who was pregnant, died as he
  suffocated her in a cheap hotel.


  He pleaded guilty Wednesday to murder and sexual crimes. Judge Tangela Barrie sentenced Hall, a 25-
  year-old who used to drive a MARTA Mobility bus, to two life terms plus five years.

https://www.ajc.com/news/local/dekalb-rapist-admits-suffocating-pregnant-woman-from-backpage-com/UccHUtjV6XJUZGeHk2u9ZM/                  2/5
                                                                                                                           Plaintiff D.H. 00535
12/6/22, 4:46 PM   Case 1:22-cv-03419-JPBDeKalb
                                             Document
                                                rapist admits 115-1         Filed woman
                                                              suffocating pregnant 12/08/23      Page 13 of 15
                                                                                        from backpage.com




                                                                   By Kroger


     ADVERTISER CONTENT

     These recipes put a twist on Christmas dinner


  Hall had met the women on backpage, a website frequented by women who sell their bodies and men who
  want to pay for them.


  Some men want more.

                                                ADVERTISING




https://www.ajc.com/news/local/dekalb-rapist-admits-suffocating-pregnant-woman-from-backpage-com/UccHUtjV6XJUZGeHk2u9ZM/                  3/5
                                                                                                                           Plaintiff D.H. 00536
12/6/22, 4:46 PM   Case 1:22-cv-03419-JPBDeKalb
                                             Document
                                                rapist admits 115-1         Filed woman
                                                              suffocating pregnant 12/08/23      Page 14 of 15
                                                                                        from backpage.com

  “This case underscores the dangers associated with sex trafficking,” said District Attorney Sherry Boston.
  “It is neither a one-dimensional issue nor a victimless crime. Defendant Hall preyed upon these women
  and attacked when they were most vulnerable.”


  Hall killed Mays at Quality Inn and Suites on Snapfinger Park Drive on Nov. 18. Security cameras recorded
  him entering the room and leaving calmly an hour later, the district attorney’s office said in a statement
  detailing the case.


       RELATED: DeKalb man charged with murder over stolen wallet accusation


       RELATED: Many questions in DeKalb after man dies and no one notices


       RELATED: Murder suspect back in DeKalb after getting bond, heading to Mexico




https://www.ajc.com/news/local/dekalb-rapist-admits-suffocating-pregnant-woman-from-backpage-com/UccHUtjV6XJUZGeHk2u9ZM/                  4/5
                                                                                                                           Plaintiff D.H. 00537
12/6/22, 4:46 PM   Case 1:22-cv-03419-JPBDeKalb
                                             Document
                                                rapist admits 115-1         Filed woman
                                                              suffocating pregnant 12/08/23      Page 15 of 15
                                                                                        from backpage.com




  The cleaning staff found her. She was nine weeks pregnant.


  Michael Mays, the victim’s father, told The Atlanta Journal-Constitution later that his daughter was a
  promising young woman but adrift. He tried to talk to her, but she believed past blemishes on her record
  made prospects of legitimate work few.


  After her death, the family hurt. The father, a long-haul trucker, had to go back to work to keep himself from
  crying. It worked sometimes.


  Seven days prior to the 20-year-old’s death, Hall attacked another woman in her Lithonia townhome. He
  stole electronics and money before fleeing the scene.


  Three days after that, Hall tried to attack another woman at the America’s Best Value Inn in Tucker. Her
  pimp pulled a gun, leading to a gunfight.


  Hall ran away.


  He was connected to the crimes through a phone.


  It was a Wi-Fi phone, which had been reloaded with anonymously registered prepaid debit cards.


  But the number was connected to an email address.


  It began: "teriquehall."

https://www.ajc.com/news/local/dekalb-rapist-admits-suffocating-pregnant-woman-from-backpage-com/UccHUtjV6XJUZGeHk2u9ZM/                  5/5
                                                                                                                           Plaintiff D.H. 00538
